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     Attorney for Defendant
 7           OSCAR GALVEZ-RAMIREZ
 8
 9                                IN THE UNITED STATES DISTRICT COURT

10                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,                    )       Case No. 15:CR000187 DAD-BAM
13                                                )
14                   Plaintiff,                   )       STIPULATION AND ORDER FOR
                                                  )       RETURN OF DEFENDANT’S PASSPORT
15             vs.                                )
                                                  )
16   OSCAR GALVEZ-RAMIREZ,                        )
17                                                )
                     Defendant.                   )
18
19            It is hereby stipulated by and between Assistant United States Attorney Kimberly A.
20
     Sanchez and attorney for the Defendant, Steven L. Crawford that the Clerk of the Court shall
21
     return to OSCAR GALVEZ-RAMIREZ the passport belonging to Mr. Galvez-Ramirez that is
22
23   currently in their possession. The passport was delivered to the Clerk of the Court on or about

24   November 25, 2015.
25   ///
26
     ///
27
     ///
28
       Case 1:15-cr-00187-DAD-BAM Document 46 Filed 04/06/16 Page 2 of 2


 1   IT IS SO STIPULATED:
 2
     DATED: April 4, 2016
 3
 4
     /Steven L. Crawford/
 5
     Steven L. Crawford
 6   Attorney for Defendant
     Oscar Galvez-Ramirez
 7
 8
     /Kimberly A. Sanchez/
 9   Kimberly A. Sanchez
     Assistant United States Attorney
10
11
                                              ORDER
12
13   IT IS SO ORDERED that the passport for Defendant Oscar Galvez-Ramirez (3) is hereby

14   Ordered returned. Passport was received on November 25, 2015, document number 31 on

15
     case docket.
16
17   Dated:   April 5, 2016                    /s/ Barbara A. McAuliffe
                                           UNITED STATES MAGISTRATE JUDGE
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